         Case 4:21-cv-00040-TWT Document 156 Filed 04/27/22 Page 1 of 4




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                           ROME DIVISION

 EARL PARRIS, JR., etc.,



                 Plaintiff,
                                           Civil Action No.:
 v.                                        4:21-cv-00040-TWT

 3M COMPANY, et al.,

                Defendants.



          MOTION TO CERTIFY QUESTIONS TO THE
  GEORGIA SUPREME COURT OR FOR INTERLOCUTORY APPEAL
                BY DAIKIN AMERICA, INC.


        Daikin America, Inc. (“DAI”) respectfully moves this Court to certify two

questions of state law to the Georgia Supreme Court under Ga. Code Ann. § 15-2-

9(a):

        1. Does a manufacturer owe a common-law duty to unknown third parties to
        protect them from another entity’s negligent disposal of the manufacturer’s
        product?

        2. Can a manufacturer be liable for an alleged nuisance caused by the
        manufacturer’s product that occurs only after the sale of the product?




                                            1
       Case 4:21-cv-00040-TWT Document 156 Filed 04/27/22 Page 2 of 4




      In the alternative, DAI moves the Court to certify its order denying DAI’s

motion to dismiss (Doc. 136) for interlocutory appeal under 28 U.S.C. § 1292(b).

      As required by Local Rule 7.1(A)(1), this Motion is “accompanied by a

memorandum of law which cites supporting authority.”



Dated: April 27, 2022                              Respectfully submitted,

Louis A. Chaiten, Pro Hac Vice forthcoming         /s/ Theodore M. Grossman
James R. Saywell, Pro Hac Vice forthcoming         Theodore M. Grossman
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                                                   Counsel for Defendant
                                                   Daikin America, Inc.




                                           2
          Case 4:21-cv-00040-TWT Document 156 Filed 04/27/22 Page 3 of 4




                           CERTIFICATE OF COMPLIANCE

         I hereby certify that the foregoing document has been prepared in accordance

with the font type and margin requirements of Local Rule 5.1C of the Northern

District of Georgia, using 14-point Times New Roman font, as approved by the

Court.

                                        /s/ Theodore M. Grossman
                                        Theodore M. Grossman




                                              3
     Case 4:21-cv-00040-TWT Document 156 Filed 04/27/22 Page 4 of 4




                           CERTIFICATE OF SERVICE
    I certify that on April 27, 2022, I served the foregoing on all parties by filing

on CM/ECF.



                                          /s/ Theodore M. Grossman
                                          Theodore M. Grossman

                                          Counsel for Defendant
                                          Daikin America, Inc.




                                           4
